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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

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CLERK, US DISTRICT COURT
UNITED STATES OF AMERICA, MIDDLE D

STATE OF FLORIDA, TAR
ex rel. CHARLES HURLEY,

Plaintiff, 2 ly
Case No. 8:1 8-cv-1304-T:I7AAS
v.
EX PARTE
FILE UNDER SEAL
[31 U.S.C. § 3730(b)(2)]
MOTIVATIONAL COACHES

OF AMERICA, INC.;
WENTWORTH HAMPSHIRE, INC.;
JULIO AVAEL, an individual; and
CHARITY SAVAGE, an individual,

Defendants.
/

 

THE UNITED STATES’ NOTICE OF
ELECTION TO DECLINE INTERVENTION

Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(4)(B), the United States
notifies the Court of its decision not to intervene in this action.

Although the United States declines to intervene, we respectfully refer the Court to
31 U.S.C. § 3730(b)(1), which allows the relator to maintain the action in the name of the
United States; providing, however, that the "action may be dismissed only if the court and
the Attorney General give written consent to the dismissal and their reasons for consenting."
Id. Therefore, the United States requests that, should either the relator or the defendants
propose that this action be dismissed, settled, or otherwise discontinued, this Court solicit

the written consent of the United States before ruling or granting its approval.
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Furthermore, pursuant to 31 U.S.C. § 3730(c)(3), the United States requests that
all pleadings filed in this action be served upon the United States; the United States also
requests that orders issued by the Court be sent to the Government's counsel. The
United States reserves its right to order any deposition transcripts, to intervene in this
action, for good cause, at a later date, and to seek the dismissal of the relator’s action or
claim.

The United States also requests that it be served with all notices of appeal.

Finally, the United States requests that the relator’s Complaint, this Notice, the
State of Florida’s Notice of Non-Intervention, and the attached proposed Order be
unsealed. The United States requests that all other papers on file in this action remain
under seal because in discussing the content and extent of the United States'
investigation, such papers are provided by law to the Court alone for the sole purpose of
evaluating whether the seal and time for making an election to intervene should be
extended.

A proposed order accompanies this notice.
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Dated: February 6, 2020

Respectfully Submitted,

MARIA CHAPA LOPEZ
United States Attorney

 

 

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Attorney for the United States of America
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CERTIFICATE OF SERVICE

I hereby certify that, on this 6th day of February, 2020, I caused the United States’
Notice of Election to Decline Intervention and accompanying proposed Order, to be served
by first class mail, postage pre-paid, on the following counsel of record:

Scott L. Terry

Wolfgang M. Florin

Florin Gray Bouzas Owens, LLC
16524 Pointe Ville Drive, Suite 100
Lutz, Florida 33558

Attorney for the Relator

 

CHRISTOPHER J. EMDEN
Assistant United States Attorney
